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                   UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF IOWA
                         CENTRAL DIVISION


NOAH PETERSEN,
                  Plaintiff,            Civil Action No.: 4:23-cv-00408-SMR-SBJ


v.
                                           PLAINTIFF’S REPLY BRIEF IN
                                            SUPPORT OF MOTION FOR
CITY OF NEWTON, IOWA, et al.,               SUMMARY JUDGMENT ON
                  Defendants.                     LIABILITY
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      Plaintiff Noah Petersen, through undersigned counsel, submits his Reply Brief

in Support of his Motion for Summary Judgment on Liability.

                                  INTRODUCTION

      In October 2022, Defendants silenced and arrested Noah—twice—for

criticizing them. To see that Defendants engaged in unconstitutional viewpoint

discrimination and retaliation, the Court simply needs to watch the videos from those

meetings. But here, discovery confirmed the obvious: Defendants wouldn’t have

silenced and arrested Noah if he made comments supporting (rather than criticizing)

Newton. So Noah moved for summary judgment, asking the Court to enter judgment

on liability for his nine constitutional claims in his favor, and then proceed to a trial

on damages only. Defendants also moved for summary judgment on all nine claims.

Noah filed his response in opposition to Defendants’ motion, which further explained

why he is entitled to summary judgment on the undisputed record.

      But now, Defendants have combined their response to Noah’s motion and their

reply supporting their own motion. In doing so, Defendants overwhelmingly ignore

Noah’s briefs, including entire argument sections, a mountain of dispositive cases,

and a laundry list of bad facts for them. And in the few instances where Defendants

actually do engage with Noah’s briefs, it’s not to urge the Court to grant Defendants

summary judgment, but to beg the Court to let the case go to a jury. See, e.g., Defs.’

Resp. 5. The Court, however, should see Defendants’ brief for what it is: An admission

that Defendants cannot meaningfully dispute what they did or overcome the decades

of clearly established law that they violated. As such, the Court should grant

Plaintiff’s Motion for Summary Judgment.
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                                    ARGUMENT

A.    The Derogatory Comments Rule Was Unconstitutional, Both Facially
      And As Applied to Noah.

      Newton’s Derogatory Comments Rule was unconstitutional under the First

Amendment. At the beginning of each meeting, attendees were told that they could

not make “derogatory comments” about individuals, including city officials.

Comments praising city officials did not violate this rule. Defendants silenced Noah

each time he tried to ignore this rule. That is an unconstitutional viewpoint-based

prior restraint on speech. Defendants’ arguments to the contrary either lack support

(prior restraint) or rely entirely on a case that would actually mandate summary

judgment for Noah (viewpoint discrimination).

      1. The Rule was a prior restraint. Each time Noah tried to speak, he was

stopped by the City before he could finish. Defendants did not enforce the Rule solely

through “subsequent punishment[].” Alexander v. United States, 509 U.S. 544, 554

(1993). Instead, they made every effort to prevent banned viewpoints from being

aired. Comments submitted by email were reviewed and censored before their

publication—a clear prior restraint. See, e.g., Bantam Books, Inc. v. Sullivan, 372

U.S. 58, 71 (1963) (striking down state pre-publication review labeling certain books

obscene as a “radically deficient . . . system of informal censorship”). And speakers in

person weren’t told that they would be punished for speaking out—they were told “in

advance” that “certain communications” were “forbidd[en].” Alexander, 509 U.S. at

550. Each time Noah made it clear that he would ignore the Rule, Defendants made

good on their warning and acted swiftly to shut him down rather than let him finish


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and punish him after. They silenced Noah by putting him in literal restraints prior

to the end of his speaking time, then removed him from the chamber.

      Defendants argue that the Rule was not a prior restraint because it was not a

“licensing statute.” Defs.’ Resp. 16 (citing City of Lakewood v. Plain Dealer Publ’g Co.,

486 U.S. 750, 757 (1988)). And it’s true that the City didn’t have a formal licensing

process to allow criticism. It was worse. Defendants ran an ad hoc system where the

mayor could exercise “unbridled discretion . . . to permit or deny expressive activity”

either before the meeting (for emailed comments) or as soon as it became clear a

speaker planned to violate the Rule (for in-person comments). City of Lakewood, 486

U.S. at 755. At least once, Mayor Hansen refrained from enforcing the Rule because

the speaker was a friend of his who had run the statements by him ahead of time,

perhaps knowing the informal system. SOF 180. “A licensing statute placing

unbridled discretion in the hands of a government official . . . constitutes a prior

restraint.” City of Lakewood, 486 U.S. at 757. “[T]he mere existence of the licensor’s

unfettered discretion, coupled with the power of prior restraint, intimidates parties

into censoring their own speech.” Id. But “these evils” are hardly lessened by Mayor

Hansen exercising that same unfettered discretion to quash expression without a

formalized licensing process. Id. Newton didn’t grant licenses to criticize the

government; instead, Mayor Hansen had the power to silence anyone, anytime.

Defendants’ claim that the Rule is not a prior restraint because it operated on Mayor

Hansen’s whims is baseless.




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      Nothing meaningfully limited the mayor’s discretion. Defendants assert that

the Rule “constrain[ed]” his authority and was “not standardless,” but they do not

actually provide these constraints or standards. Defs.’ Resp. 16. The text of the Rule

has no limits, and the City’s testimony confirmed none exist. SOF 23–27. The only

check on the mayor’s authority is the City Council’s power to override decisions, but

Defendants cannot point to any authority holding that the standardless and

unexercised power of other government officials could cure the constitutional defect

with the mayor’s otherwise limitless discretion. Nor was the Council even consulted

before Mayor Hansen enforced the Rule to reject Noah’s April 2022 emailed comment.

SOF 75–83.

      Last, the City asserts that “[a] licensing regime allows more time for

deliberation” than the Rule, which was enforced in a “kinetic situation.” Defs.’ Resp.

16. This “time for deliberation” requirement for prior restraints comes from thin air.

Regardless, there was time for deliberation. There was no “kinetic situation” at play

when Defendants rejected Noah’s emailed comment, and Defendants pre-planned

their enforcement efforts at the October 24 meeting. The Rule was a prior restraint.

      2. The Rule also unconstitutionally restricted speech based on viewpoint. See

Petersen MSJ 41–44. Under the Rule, “derogatory comments” about government

officials was banned, while comments praising those same officials were allowed. SOF

23, 38. Yet Defendants, relying entirely on a single district court case from a different

circuit, claim that the Rule was viewpoint- and content-neutral. Defs.’ Resp. 17–18

(citing Murray v. City of New Buffalo, 708 F. Supp. 3d 1313 (W.D. Mich. 2023)).



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Murray did reject a facial challenge to a derogatory comments rule similar to the rule

here. 708 F. Supp. 3d at 1330–31. But Murray does not control here. As Noah

explained at length in his MSJ, the Rule is facially unconstitutional under controlling

Supreme Court and Eighth Circuit precedent. Iancu v. Brunetti, 588 U.S. 388, 393

(barring “derogatory” statements but not “positive” ones is the “essence of viewpoint

discrimination.” (quoting Matal v. Tam, 582 U.S. 218, 249 (2017) (Kennedy, J.,

concurring))); Bowman v. White, 444 F.3d 967, 976 (8th Cir. 2006) (viewpoint

discrimination prohibited in even limited and nonpublic forums).

      But Noah also wins under Murray. Defendants conspicuously leave out of their

summary of Murray that the court granted summary judgment to the plaintiffs on

two of their three as-applied challenges. The court recognized that “[t]he right to

criticize public officials, within bounds, is a core right protected by the First

Amendment.” Murray, 708 F. Supp. 3d at 1333. And the mayor in Murray, like Mayor

Hansen, “applied the Rules of Procedure to silence speech based on viewpoint.” Id.

The facts of one incident in Murray are particularly familiar: At a city council

meeting, “as [the plaintiff was] trying to hold the mayor accountable for [the mayor’s]

viewpoint hostility, the mayor begins trying to shut [the plaintiff] down, ironically

underscoring [the plaintiff’s] point.” Id. at 1334. Precisely what happened here when

Noah tried to “hold the mayor accountable” for his first arrest and Mayor Hansen had

Noah arrested again. Id. The resemblance to Murray is “striking.” Defs. Resp. 18.

      The only as-applied claim where the Murray court denied summary judgment

involved the plaintiff making “an accusation that a city council member was



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intoxicated” which the court found “not critical of the council member[’s] policy

position or official actions.” Murray, 708 F. Supp. 3d at 1334. Defendants try to put

Noah’s remarks in this category, but the shoe doesn’t fit. The Rule was applied to

Noah for (1) criticizing the police department for employing a domestic abuser and

(2) calling Mayor Hansen and Chief Burdess fascists for having thrown him in jail for

criticizing the police department. Both were clear criticisms of Defendants’ official

actions.

      The Rule is facially unconstitutional under Iancu, and the Court should say so.

By prohibiting derogatory comments about government officials while allowing

positive ones, the Rule was the “essence of viewpoint discrimination.” Iancu, 588 U.S.

at 393. But even under Murray, Noah wins.

B.    Noah’s Speech Was Protected; He Did Not Defame Officer Winters.

      Defendants’ main argument remains that Noah’s speech was unprotected

because it was defamatory. See Defs.’ Resp. 3–5. Noah already detailed why this

argument is wrong. See Petersen MSJ 36–39; Petersen Resp. 32–34. And now in

response, Defendants abandon their own motion for summary judgment and suggest

that the jury should decide whether Noah’s comment about Officer Winters was

defamatory. See Defs.’ Resp. 5 (quoting Lundell Mfg. Co. v. ABC, Inc., 98 F.3d 351,

360 (8th Cir. 1996)). Defendants are wrong again. As a matter of law, Noah did not

defame Officer Winters—and this Court has already said so twice, in Galanakis v.

City of Newton, No. 4:23-cv-00044, 2023 WL 3479167 (S.D. Iowa May 8, 2023)

(“Galanakis I”); and in Galanakis v. City of Newton, No. 4:23-cv-00044, 2024 WL

606235 (S.D. Iowa Feb. 8, 2024) (“Galanakis II”).
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      Between Galanakis I and II, this Court found just one statement to be

potentially defamatory and not substantially true: “NATHAN WINTERS OF THE

NEWTON POLICE DEPARTMENT CONVICTED OF DOMESTIC ABUSE AFTER

BEATING UP HIS EX[-]GIRLFRIEND.” Galanakis II, 2024 WL 606235, at *5. That

statement survived summary judgment only because it said that Officer Winters was

“convicted” of domestic abuse. Id. at *17 (singling out the use of the word “convicted”

five times in just one paragraph explaining why Galanakis was not entitled to

summary judgment). In contrast, every other statement about Officer Winters was

not defamatory as a matter of law, including that Officer Winters “beat” his ex-

girlfriend, Galanakis II, 2024 WL 606235, at *16, that he was “kidnapped” by the

Newton Police Department, and that Officer Winters “has a ‘domestic abuse history.’”

Galanakis I, 2023 WL 3479167, at *8, *10.

      Here, Defendants try to put Noah’s comment into the “convicted” bucket,

saying that a jury could find that’s what Noah meant. See Defs.’ Resp. 4–5. But unlike

Galanakis, that’s not what Noah actually said. Noah said that the Newton Police

Department is “currently employing a domestic abuser[.]” Defs.’ SUF 29. That’s a true

statement in the same way it was true for Galanakis to say that Officer Winters had

a “domestic abuse history.” Galanakis I, 2023 WL 3479167, at *8. Defendants cannot

create an issue of fact by pretending that Noah said something different. Cf. Defs.’

Resp. 4–5 (falsely asserting that Noah said “the exact accusations” about Officer

Winters that Galanakis did).




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C.    There Was No Probable Cause to Arrest Noah.

      Defendants then argue that they had probable cause to arrest Noah, see Defs.’

Resp. 5–9, which mainly consists of repeating the relevant standards and elements,

compare Defs.’ Resp. 6–7, with Defs.’ MSJ 6–7. But Noah already detailed why those

arguments are wrong as a matter of law. See Petersen MSJ 18–19, 32–34, 45–47; see

also Petersen Resp. 21–23, 46–48. And Defendants fail to address any these

arguments or cases explaining why Defendants lacked probable cause.

      1. Defendants, however, do accuse Noah of failing to distinguish the one case

they relied on in their motion for summary judgment, State v. Hardin, 498 N.W.2d

677 (Iowa 1993). See Defs.’ Resp. 8. But that’s just not true. Noah spent a full page

explaining why Hardin shows that Defendants lacked probable cause to arrest Noah.

Petersen Resp. 47. And how, unlike the hecklers in Hardin, “Chief Burdess could not

arrest Noah for criticizing the police when he spoke only during his recognized turn

to speak, he threatened no one, he did not use profanity, he did not shout, and he did

not go over his three minutes.” Id. at 48.

      2. Defendants also repeat their one-sentence note that “the District Court for

Jasper County found probable cause for the disorderly conduct charge.” Defs.’ Resp. 8;

see also Defs.’ MSJ 7 (same). Noah explained, at length, how the Eighth Circuit

distinguishes between “a trial court’s determination of probable cause for the case to

go to trial,” which happened in Noah’s criminal case, and the determination of

probable cause for an arrest, which has not happened. Petersen Resp. 23–25 (cleaned

up). Noah then explained how, according to the Eighth Circuit, determination of the

former has no preclusive effect on the latter in subsequent § 1983 litigation. Id. at
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24–25. Simply then, the trial court’s determination of probable cause means nothing

in this case. Defendants do not address, rebut, or acknowledge this argument or

binding cases from the Eighth Circuit. See Defs.’ Resp. 8.

      3. Defendants then briefly argue that Noah would have been arrested

“regardless of the content of his comments because it was Plaintiff’s conduct, not his

speech, that caused this.” Defs.’ Resp. 9. But Defendants again ignore Noah’s

arguments and caselaw on this point. See Petersen MSJ 31–32. According to the

Supreme Court’s but-for causation test and Mayor Hansen’s own testimony, “of

course” Noah wouldn’t have been arrested if he didn’t criticize the Newton police. Id.

at 32 (citing Bostock v. Clayton County, 590 U.S. 644, 656 (2020); SOF 204). The Court

should reject Defendants’ lack-of-causation argument out of hand.

D.    Neither Mayor Hansen Nor Officer Burdess Is Entitled To
      Qualified Immunity.

      Once again, Defendants ignore the bulk of Plaintiff’s arguments, this time

about qualified immunity and why it doesn’t apply. Plaintiff cited more than twenty

cases that laid out four layers of clearly established law. Noah explained that his

right to criticize the government, including law enforcement officers, was clearly

established. Petersen Resp. 38–39. That his right to be free from viewpoint

discrimination in a limited public forum, including from a “no disparagement” rule,

was clearly established. Id. at 39–41. Noah’s right not to be retaliated against for his

speech was clearly established. Id. at 41–43. And Noah’s Fourth Amendment right

not to be arrested based on the content of his speech was also clearly established. Id.




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at 46–48. But Defendants do not meaningfully engage with any of Noah’s clearly

established rights or the mountain of precedent supporting those rights.

      1. Defendants respond to just one case Noah cited, Gerlich v. Leath, 861 F.3d

697 (8th Cir. 2017), to suggest that Noah’s clearly established analysis is too

generalized. See Defs.’ Resp. 10. And thus, according to Defendants, Officer Hansen

and Chief Burdess are entitled to qualified immunity because Noah “cannot point to

a controlling case in this jurisdiction that suggests (in a split-second scenario) that

arresting someone for arguably defamatory speech and disruptive conduct is

unquestionably unconstitutional.” Id. 1

      But that characterization is wrong for several reasons. First, Defendants

ignore the qualified immunity principles that correctly frame the proper level of

generality for this case. See Petersen Resp. 36–37. As Noah explained, not every

factual distinction matters, especially when, as here, government officials were not

making split-second decisions about the use of force, id., and the First Amendment is

implicated, id. at 37–38. Defendants ignore these principles entirely.




1 The Court should reject Defendants’ characterization that any decision in this case

involved a “split-second scenario.” See Defs.’ Resp. 10. Defendants were not cops on
the beat in a high-tension situation making a true “split-second decision to use force
in a dangerous setting.” Petersen Resp. 36–37 (citation omitted). Rather, Defendants
were sitting in a meeting, they knew what Noah was going to say, but they arrested
him anyway. See Petersen SOF 70–80, 132, 193–236. And for the second arrest,
Defendants had a premeditated plan about what to do if Noah engaged in the same
speech, and they executed that plan step-by-step. See Petersen SOF 293–305. That
plan is just like Lozman v. City of Riviera Beach, 585 U.S. 87 (2018), not some split-
second decision. Regardless, as explained infra p. 12, even if this were a split-second
decision, it was still clearly established that Defendants could not retaliate against
and arrest Noah for the content of his speech.
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      Defendants are also just wrong about Gerlich and the proper level of

generality. See Defs.’ Resp. 10. In Gerlich, Iowa State University had a policy about

whether speech could be printed alongside ISU’s logo. 861 F.3d at 701–03. ISU denied

one design because it showed support for legalizing marijuana. Id. When the would-

be-speaker sued ISU for violating the First Amendment, this Court explained that

ISU engaged in viewpoint discrimination—and that the First Amendment’s

prohibition on viewpoint discrimination was clearly established. Gerlich v. Leath, 152

F. Supp. 3d 1152, 1176 (S.D. Iowa 2016). On appeal, ISU essentially made the same

argument as Mayor Hansen and Chief Burdess, i.e., that the Court “defined the right

at issue too broadly when it noted the Constitution’s general proscription of viewpoint

discrimination is clearly established.” Appellant’s Br., Gerlich v. Leath, No. 16-1518,

2016 WL 1553994, at *23 (8th Cir. Apr. 11, 2016). Rather, as ISU argued, the right

at issue should have been defined more narrowly. See id. But the Eighth Circuit

affirmed this Court’s more generalized view about the First Amendment, explaining

that it was clearly established that speakers have a “right not to be subjected to

viewpoint discrimination while speaking in a [ ] limited public forum.” Gerlich, 861

F.3d at 709. That properly defined and clearly established right applies equally here.

      Next, Defendants also ignore that the Eighth Circuit endorses the “broad view”

of qualified immunity, meaning that district court cases can give officials “fair notice”

about whether their conduct is unconstitutional. Petersen Resp. 36. So to the extent

Defendants want a hyper-factual comparator, Noah provided one. In McCabe v.

Macaulay, 551 F. Supp. 2d 771 (N.D. Iowa 2007), it was clearly established—since



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2006—that officials cannot arrest a protestor for the exact crime Chief Burdess had

in mind when he arrested Noah just because the protestor criticized a police officer

and refused to yield to the officer’s unlawful order during a split-second encounter.

Petersen Resp. 42. As the Northern District of Iowa explained, it has been

“abundantly clear . . . that the First Amendment would not tolerate state law

enforcement officers arresting persons based upon the content of their speech.”

McCabe, 551 F. Supp. 2d at 792 (citing R.A.V. v. City of St. Paul., 505 U.S. 377, 391–

92 (1992)). Officer Hansen and Chief Burdess ignore McCabe (along with its

foundational Eighth Circuit and Supreme Court precedent). See Defs.’ Resp. 10.

      2. Mayor Hansen also repeats his argument that he’s entitled to qualified

immunity because, even if it was clearly established that Noah’s speech was

protected, Mayor Hansen made a reasonable mistake about the state of the law. See

Defs.’ Resp. 10. But as Noah explained, Mayor Hansen is essentially asking for a “step

three” in the qualified immunity analysis where courts determine “what a reasonable

officer would regard as lawful.” Petersen Resp. 45 (citation omitted). As Noah

explained, no such step exists. Id. Mayor Hansen’s response, however, does not

address, acknowledge, or respond to this point.

      The same goes for Mayor Hansen’s “mistake of law” argument about Noah

calling him a fascist. See Defs.’ Resp. 11. Mayor Hansen reprises his claim that “the

law was not clearly established that accusing individuals of being fascists did not

constitute defamation.” Id.; see also Defs.’ MSJ 13 (same). But, as Noah laid out, “[f]or

almost 40 years, the Eighth Circuit has recognized that calling someone a ‘fascist’ is



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a paradigmatic example of a statement that is ‘indefinite and therefore opinion.’”

Petersen Resp. 45–46 (quoting Janklow v. Newsweek, Inc., 788 F.2d 1300, 1302 (8th

Cir. 1986)) (cleaned up and emphasis added). Clearly established law does not

disappear just because Defendants ignore it.

      3. Like Mayor Hansen, Chief Burdess repeats his arguments about qualified

immunity while wholly disregarding Noah’s. For instance, Noah explained why Chief

Burdess lacked “arguable probable cause” to arrest him. See Petersen Resp. 46–48.

Chief Burdess offers no response. See Defs.’ Resp. 11–12. Likewise, Chief Burdess

does not grapple with Noah’s explanation of how Hardin and Tannenbaum—when

paired with the litany of cases establishing that an official cannot arrest a speaker

for his viewpoint—put Chief Burdess on notice that he could not arrest Noah (or any

speaker) for criticizing the police when the speaker otherwise complied with neutral

time, place, and manner restrictions. See Petersen Resp. 48–49.

      4. Defendants also get their qualified immunity analysis wrong by arguing,

again, that the Nieves exception was somehow not clearly established when they

arrested Noah. See Defs.’ Resp. 13. But Nieves was decided in 2019. And since 2019,

the Supreme Court has recognized that “[t]he existence of probable cause does not

defeat a plaintiff’s claim if he produces ‘objective evidence that he was arrested when

otherwise similarly situated individuals not engaged in the same sort of protected

speech had not been.’” Gonzalez v. Trevino, 602 U.S. 653, 655 (2024) (per curiam)

(quoting Nieves v. Bartlett, 587 U.S. 391, 407 (2019)). And regardless, the application

of this so-called “Nieves exception” is about what evidence or allegations a court can



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consider at the motion to dismiss stage—not whether any right is clearly established.

See id. at 657; see also Murphy v. Schmitt, No. 22-1726, 2023 WL 5748752 (8th Cir.

Sept. 6, 2023), rev’d, — S. Ct. — , 2024 WL 4426466 (Oct. 7, 2024) (mem.) (remanded

for reconsideration in light of Gonzalez).

      5. Defendants also ignore an entire section of Noah’s brief: Under either the

First Amendment or the Fourth Amendment, Defendants’ constitutional violations

were obvious. See Petersen Resp. 49–50. Defendants do not contest that qualified

immunity does not apply when a constitutional violation is obvious. Nor do

Defendants rebut the principle that “there is perhaps no constitutional right more

obvious than the right to criticize the government.” Id. (collecting sources). That alone

means Defendants are not entitled to qualified immunity.

E.    Noah Is Entitled to Judgment on His Equal Protection Claims.

      Regarding Noah’s equal protection claims, Defendants argue that the other

speakers Noah identified are not similarly situated because “the other speakers

behaved markedly differently from Plaintiff.” Defs.’ Resp. 21. But apart from such

conclusory statements, Defendants’ only attempt to distinguish the other speakers

Noah identified is that “[t]hese other speakers did not engage in defamatory conduct.”

Id. But, according to Mayor Hansen, that’s exactly what they did. (Of course,

according to this court’s Galanakis decisions, Noah didn’t defame anyone, see supra

pp. 6–7.) Mayor Hansen testified during his deposition that both Fred Rhodes and

Dana VanGilder intentionally made “totally false” and “wrong” statements about the

rental inspector. See Petersen MSJ 40–41 (citing Petersen SOF 163–76, 182–85).

Mayor Hansen claims that Noah also made “false statements” about Officer Winters.
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Id. at 16–17 (citing Petersen SOF 198). The difference then? Mayor Hansen decided

that Noah’s false comments were “defamatory” (and violated the Derogatory

Comments Rule) because he talked about the police, but Fred’s and Dana’s false

comments were not defamatory because they talked about the rental inspector. See

id. at 40–41; see also id. at 15–16. That’s selective enforcement and violates the Equal

Protection Clause. 2

F.    Mayor Hansen Is Responsible for Noah’s Arrests.

      Noah explained how Mayor Hansen is legally responsible for Noah’s arrests

because he was “integral” to Noah’s arrests. See Petersen Resp. 30–31. After all, even

though Mayor Hansen did not physically put the handcuffs on Noah, both arrests

were based on his determination that Noah violated the Derogatory Comments Rule.

Petersen SOF 256, 268. In response, Mayor Hansen claims that he was a mere

“bystander” to Noah’s arrests. Defs.’ Resp. 19.

      Mayor Hansen, however, ignores the undisputed facts about his integral role

in Noah’s arrests. For instance, Mayor Hansen determined that Noah violated the

Derogatory Comments Rule, called Chief Burdess up to the podium, ordered Chief

Burdess to “escort [Noah] out of the chambers,” helped form the plan to arrest Noah

at the second October meeting, and then helped carry out that plan step-by-step until




2 Defendants also claim that “there is no evidence the Defendants acted with a
discriminatory purpose.” Defs.’ Resp. 22. But that argument simply ignores the wall
of evidence establishing that Defendants’ October 2022 enforcement actions were
because of Noah’s political speech criticizing Defendants. See Petersen MSJ 31–36;
see also Petersen Resp. 21–23. Unable to refute this evidence, Defendants simply
ignore it.
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Noah was again arrested. See Petersen MSJ 16–17, 20–21, 23–25. In other words,

Noah’s arrests would not have occurred but for Mayor Hansen’s decisions and

direction. See Petersen Resp. 31 (quoting 42 U.S.C. § 1983).

      As Mayor Hansen sees it, he was even less involved in Noah’s arrests than a

police officer who “stood watch at the door while a search was conducted.” Defs.’ Resp.

19 (citing James v. Sadler, 909 F.2d 834 (5th Cir. 1990)). But the officer in James was

liable simply for remaining present for the search. 909 F.2d at 837 (citing Creamer v.

Porter, 754 F.2d 1311, 1316 (5th Cir. 1985)). So was another officer when the search

couldn’t begin until he arrived. Creamer, 754 F.2d at 1316. In contrast, an officer was

only a “bystander” when he left as the search began and “returned only after the

entire search had been completed.” Id. As already detailed, Mayor Hansen falls into

the former bucket. He authorized the arrest (or as Chief Burdess explained, created

probable cause for the arrest) when he determined that Noah violated the Derogatory

Comments Rule. And unlike the true “bystander” officer in Creamer, Mayor Hansen

was present and engaged in Noah’s arrests. Accord Gonzalez, 602 U.S. at 656

(retaliatory arrest claims against both a mayor and police chief, neither of whom

placed the physical handcuffs on the plaintiff). Mayor Hansen cannot now escape

liability by pretending that he had nothing to do with the arrests.

G.    Newton Cannot Escape Liability for the Constitutional Violations.

      Noah explained why Newton is responsible for all the constitutional violations.

See Petersen MSJ 47–50; see also Petersen Resp. 50–53. In response, Newton claims

that it cannot be held liable for Mayor Hansen’s enforcement of the Derogatory

Comments Rule for two reasons. First, Defendants claim that “Plaintiff has not
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established Hansen was the final authority on the Derogatory Comments Rule.”

Defs.’ Resp. 14. But both Newton and Mayor Hansen said the opposite during

depositions—“Q: So this public comment rule, who was in charge of enforcing it?

A: Me. The Mayor. Let me say that. The mayor.” Hansen Tr. 26:4–7, Petersen Appx.

316; see also Petersen SOF 24–33 (detailing Mayor Hansen’s and the City’s testimony

explaining exactly how Mayor Hansen had discretion to interpret and enforce the

Derogatory Comments Rule). This is not a serious argument from Defendants.

      Second, Defendants say that the record “is devoid of facts which would tend to

show Newton ratifying Hansen or Burdess’s actions.” Defs.’ Resp. 15. But again,

Defendants do not engage with any of the facts on the long list Noah provided, which

established that the key enforcement actions taken against Noah were all taken by,

delegated, ratified, or tolerated by City policymakers, including an actual meeting

and plan with the city administrator to (a) double down on the first arrest by inviting

the city attorney to give a “civics lesson,” and (b) come up with a premeditated plan

for the second arrest. See Petersen MSJ 49–50; Petersen Resp. 51–53. The Court

should reject the City’s unsupported attempt to skirt responsibility.

                                   CONCLUSION

      For the above reasons, along with the reasons in Plaintiff’s Brief in Support of

his Motion for Summary Judgment (Doc. 29) and Plaintiff’s Brief in Opposition to

Defendants’ Motion for Summary Judgment (Doc. 33), the Court should grant

Plaintiff’s Motion for Summary Judgment on Liability (Doc. 27) on all of Plaintiff’s

claims and allow the case to proceed to trial to determine damages.



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Date: November 15, 2024.                 Respectfully submitted,

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                           CERTIFICATE OF SERVICE

      I hereby certify that, on November 15, 2024, I electronically filed the

foregoing document with the Clerk of Court using the CM/ECF system, which will

send a notification of such filing to all registered participants identified on the

Notice of Electronic Filing.

                                                /s/ Brian A. Morris
                                                Brian A. Morris




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